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Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA, NO. CR 15~688(A)~DSF-18

Plaintiff, PLEA AGREEMENT FOR DEFENDANT
SUSANNA RODRIGUEZ

 

 

V.
SUSANNA RODRIGUEZ, et al.,

Defendants.

 

 

 

l. This constitutes the plea agreement between defendant
Susanna Rodriguez (“defendant”) and the United States Attorney’s
Office for the Central District of California (“the USAO”) in the
above-captioned case. This agreement is limited to the USAO and
cannot bind any other federal, state, local, or foreign prosecuting,
enforcement, administrative, or regulatory authorities.

DEFENDANT'S OBLIGATIONS

 

2. Defendant agrees to:
a. At the earliest opportunity requested by the USAO and
provided by the Court, appear and plead guilty to counts one and five

of the First Superseding Indictment in United States v. Kelly, et

 

 

 

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1 al., CR No. l5-688(A)-DSF, which charge defendant with conspiracy to

2 commit racketeering, in violation of 18 U.S.C. § 1962(d); and
3 conspiracy to distribute controlled substances, in violation of 21
4 U.S.C. §§ 846, 84l(a)(1), and 841(b)(l)(A).

5 b. Not contest facts agreed to in this agreement.

6 c. Abide by all agreements regarding sentencing contained

7 in this agreement.

8 d. Appear for all court appearances, surrender as ordered

9 for service of sentence, obey all conditions of any bond, and obey

10 any other ongoing court order in this matter.

ll e. Not commit any crime; however, offenses that would be

12 excluded for sentencing purposes under United States Sentencing

13 Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4Al.2(c) are not

14 within the scope of this agreement.

15 f. Be truthful at all times with Pretrial Services, the

16 United States Probation Office, and the Court.

17 g. Pay the applicable special assessments at or before

18 the time of sentencing unless defendant lacks the ability to pay and

19 prior to sentencing submits a completed financial statement on a form

20 to be provided by the USAO.

 

21 THE USAO'S OBLIGATIONS

22 3. The USAO agrees to:

23 a. Not contest facts agreed to in this agreement.

24 b. Abide by all agreements regarding sentencing contained

25 in this agreement.
26 c. At the time of sentencing, move to dismiss any

27 remaining counts of the first superseding indictment as against

28 defendant. Defendant agrees, however, that at the time of sentencing

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the Court may consider any dismissed charges in determining the
applicable Sentencing Guidelines range, the propriety and extent of
any departure from that range, and the sentence to be imposed.

d. At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offenses up to
and including the time of sentencing, recommend a two-level reduction
in the applicable Sentencing Guidelines offense level, pursuant to
U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
additional one-level reduction if available under that section.

e. Forego filing any enhancements to the otherwise
applicable statutory mandatory minimum sentence pursuant to Title 21,
United States Code, Section 851, or to dismiss any charges filed
pursuant to that provision, if filed prior to the entry of
defendant’s guilty pleas.

NATURE OF THE OFFENSES

 

4. Defendant understands that for defendant to be guilty of
the crime charged in count one, that is, Racketeering Conspiracy, in
violation of Title 18, United States Code, Section 1962(d), the
following must be true:

a. The enterprise alleged in count one of the First
Superseding Indictment existed;

b. The enterprise engaged in activities that affected or
would affect interstate or foreign commerce; and

c. Defendant knowingly and intentionally agreed that a
co-conspirator (which may include the defendant) would violate Title
18, United States Code, Section l962(c), through a pattern of

racketeering activity.

 

 

 

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An “enterprise” includes any individual, partnership,
corporation, association, or other legal entity, and any union or
group of individuals associated in fact, although not a legal entity,
“Racketeering activity” includes any act or threat involving murder,
kidnaping, robbery, extortion, or dealing in a controlled substance,
which is chargeable under state law and punishable by imprisonment
for more than one year.

A “pattern of racketeering activity” is at least two
racketeering acts within ten years of each other that have a
relationship to each other and a threat of continuity. Conduct forms
a pattern if it consists of criminal acts that have the same or
similar purposes, results, participants, victims, or methods of
commission, or otherwise are interrelated by distinguishing
characteristics and are not isolated.

5. Defendant understands that for defendant to be guilty of
the crime charged in count five, that is, conspiracy to distribute
controlled substances, in violation of Title 21, United States Code,
Sections 846 and 84l(a)(1), the following must be true:

a. Defendant entered an agreement with at least one other
person to commit the crime of distribution of a controlled substance;
and

b. Defendant became a member of the conspiracy knowing of
at least one of its objects and intending to help accomplish it.

ln order for defendant to be subject to the statutory maximum
and mandatory minimum sentences set forth herein for the violation
charged in*count five, the government must prove beyond a reasonable
doubt that it was foreseeable to defendant that the conspiracy of
which she was a part involved the distribution of at least 5 grams or

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more of actual methamphetamine or 50 grams of a mixture or substance

containing a detectable amount of methamphetamine.

6. Defendant admits that she is, in fact, guilty of the
offenses charged and described in counts one and five of the First
Superseding Indictment and that the offense described in count five
involved the conspiracy to distribute more than 5 grams of actual
methamphetamine or 50 grams of a mixture or substance containing a
detectable amount of methamphetamine.

PENALTIES
7. Defendant understands that the statutory maximum sentence

that the Court can impose for this violation of Title 18, United
States Code, Section 1962(d), is: 40 years’ imprisonment; a 4-year
period of supervised release; a fine of $250,000, or twice the gross
gain or gross loss resulting from the offense, whichever is greatest;
and a mandatory special assessment of $100.

8. Defendant understands that the statutory maximum sentence
that the Court can impose for this violation of Title 21, United
States Code, Sections 846 and 841(a)(l), (b)(l)(B), is: 40 years’
imprisonment; a lifetime period of supervised release; a fine of
$5,000,000, or twice the gross gain or gross loss resulting from the
offense, whichever is greatest; and a mandatory special assessment of
$100.

9. Defendant understands, therefore, that the total maximum
sentence for all offenses to which defendant is pleading guilty is:
80 years’ imprisonment; a lifetime period of supervised release; a
fine of $5,250,000, or twice the gross gain or gross loss resulting
from the offenses, whichever is greatest; and a mandatory special

assessment of $200.

 

 

 

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10. The statutory mandatory minimum sentence that the court
must impose for this violation of Title 21, United States Code,
Sections 846 and 841(a)(1), (b)(l)(B) is 5 years’ imprisonment, a 4-
year term of supervised release, and a mandatory special assessment
of $lOO.

ll. Defendant understands that supervised release is a period
of time following imprisonment during which defendant Will be subject
to various restrictions and requirements. Defendant understands that
if defendant violates one or more of the conditions of any supervised
release imposed, defendant may be returned to prison for all or part
of the term of supervised release authorized by statute for the
offense that resulted in the term of supervised releases.

12. Defendant understands that, by pleading guilty, defendant
may be giving up valuable government benefits and valuable civic
rights, such as the right to vote, the right to possess a firearm,
the right to hold office, and the right to serve on a jury.

Defendant understands that once the court accepts defendant's guilty
pleas, it will be a federal felony for defendant to possess a firearm
or ammunition. Defendant understands that the convictions in this
case may also subject defendant to various other collateral
consequences, including but not limited to revocation of probation,
parole, or supervised release in another case and suspension or
revocation of a professional license. Defendant understands that
unanticipated collateral consequences will not serve as grounds to
withdraw defendant's guilty pleas.

13. Defendant understands that, if defendant is not a United
States citizen, the felony convictions in this case may subject
defendant to: removal, also known as deportation, which may, under

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some circumstances, be mandatory; denial of citizenship; and denial
of admission to the United States in the future. The Court cannot,
and defendant's attorney also may not be able to, advise defendant
fully regarding the immigration consequences of the felony conviction
in this case. Defendant understands that unexpected immigration
consequences will not serve as grounds to withdraw defendant's guilty
plea.

14. Defendant understands that under 21 U.S.C. § 862a,
defendant will not be eligible for assistance under state programs
funded under the Social Security Act or Federal Food Stamp Act or for
federal food stamp program benefits, and that any such benefits or
assistance received by defendant's family members will be reduced to
reflect defendant's ineligibility.

FACTUAL BASIS

15. Defendant admits that defendant is, in fact, guilty of the
offenses to which defendant is agreeing to plead guilty. Defendant
and the USAO agree to the statement of facts provided below and agree
that this statement of facts is sufficient to support the pleas of
guilty to the charges described in this agreement and to establish
the Sentencing Guidelines factors set forth in paragraph 17 below but
is not meant to be a complete recitation of all facts relevant to the
underlying criminal conduct or all facts known to either party that
relate to that conduct.

Defendant is an associate or member of the Wilmas street gang.
The Wilmas gang is an enterprise whose members engage in violent
crimes and narcotics distribution in Southeast Los Angeles and the
community of Wilmington, within the Central District of California.
Defendant participated with others in the offenses of the gang, which

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include violent crimes and narcotics-trafficking and formed a pattern
Of racketeering activity by the organization and its members. For
example, on March 7, 2006, defendant possessed a backpack with “East
Side Wilmas” written on it. Inside the backpack, defendant
maintained 8 packages of methamphetamine, a spoon, 5 syringes (two of
which were opened), 2 digital scales, additional plastic bags, and a
bank card in the name of another person. The methamphetamine totaled
approximately 6.25 grams and was packaged for distribution. On
January 24, 2013, defendant sold a Mossberg .410 gauge shotgun and a
bulletproof vest to a confidential government informant, after the
shotgun had been used by a co-defendant and Wilmas gang member in an
assault on rival gang members. The shotgun was owned by another
Wilmas gang associate. On February 4, 2013, defendant arranged for a
confidential government informant to meet with a co-defendant and
Wilmas gang member, so that the informant could purchase
methamphetamine from that co-defendant. On February 6, 2013,
defendant and a co-defendant displayed a .44 caliber handgun during a
meeting with a confidential government informant. In November of
duq'hlkz AHV
2013, defendant agreed to cover the narcotics debts owed by a co-
defendant after his arrest.

Defendant agrees that her actions were committed as part of her
association with the Wilmas gang and in furtherance of the narcotics-
trafficking and violent crimes of the organization, knowing that its
members and associates had committed and would commit multiple
offenses constituting a pattern of racketeering activity, which
included violent crimes, narcotics-distribution, extortion, and other
racketeering offenses. Defendant knew that the offenses of the
Wilmas gang and the conspiracy of which she was a part involved the

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distribution of more than 5 grams of actual methamphetamine and more
than 50 grams of a mixture or substance containing methamphetamine.
Defendant also admits that the crimes of the organization, including
narcotics trafficking, affect interstate and foreign commerce.

SENTENCING FACTORS

 

16. Defendant understands that in determining defendant's
sentence, the Court is required to calculate the applicable
Sentencing Guidelines range and to consider that range, possible
departures under the Sentencing Guidelines, and the other sentencing
factors set forth in 18 U.S.C. § 3553(a). Defendant understands that
the Sentencing Guidelines are advisory only, that defendant cannot
have any expectation of receiving a sentence within the calculated
Sentencing Guidelines range, and that after considering the
Sentencing Guidelines and the other § 3553(a) factors, the Court will
be free to exercise its discretion to impose any sentence it finds
appropriate between the mandatory minimum and up to the maximum set
by statute for the crimes of conviction.

17. Defendant and the USAO agree to the following applicable
Sentencing Guidelines factors:

Base Offense Level: 24 U.S.S.G. §§ 2E1.1(a)(2),
2Dl.l(C)(8)

Defendant and the USAO reserve the right to argue that
additional specific offense characteristics, adjustments, and
departures under the Sentencing Guidelines are appropriate.
Defendant understands that defendant's offense level could be
increased if defendant is a career offender under U.S.S.G. §§ 4Bl.1

and 4Bl.2. If defendant's offense level is so altered, defendant and

 

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the USAO will not be bound by the agreement to Sentencing Guideline
factors set forth above.

18. Defendant understands that there is no agreement as to
defendant's criminal history or criminal history category.

19. Defendant and the USAO reserve the right to argue for a
sentence outside the sentencing range established by the Sentencing
Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),
(a)(Z), (a)(3), (a)(€), and (a)(7)»

WAIVER OF CONSTITUTIONAL RIGHTS

 

20. Defendant understands that by pleading guilty, defendant
gives up the following rights:

a. The right to persist in a plea of not guilty.

b. The right to a speedy and public trial by jury.

c. The right to be represented by counsel - and if
necessary have the court appoint counsel - at trial. Defendant
understands, however, that, defendant retains the right to be
represented by counsel - and if necessary have the court appoint
counsel - at every other stage of the proceeding.

d. The righ to be presumed innocent and to have the
burden of proof placed on the government to prove defendant guilty
beyond a reasonable doubt.

e. The right to confront and cross-examine witnesses
against defendant.

f. The right to testify and to present evidence in
opposition to the charges, including the right to compel the

attendance of witnesses to testify.

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1 g. The right not to be compelled to testify, and, if

2 defendant chose not to testify or present evidence, to have that

3 choice not be used against defendant.

4 h. Any and all rights to pursue any affirmative defenses,
5 Fourth Amendment or Fifth Amendment claims, and other pretrial

6 motions that have been filed or could be filed.

7 WAIVER OF APPEAL OF CONVICTION

 

8 21, Defendant understands that, with the exception of an appeal
9 based on a claim that defendant's guilty pleas were involuntary, by
10 pleading guilty defendant is waiving and giving up any right to
ll appeal defendant's convictions on the offenses to which defendant is
12 pleading guilty.

13 LIMITED MUTUAL WAlVER OF APPEAL OF SENTENCE

 

14 22. Defendant agrees that, provided the Court imposes a total
15 term of imprisonment on all counts of conviction that is within the
16 sentencing guidelines range corresponding to an overall offense level
17 of 21 and criminal history category determined by the Court and

18 subject to the statutory mandatory minimum sentence set forth at

19 paragraph 10 herein, defendant gives up the right to appeal all of
20 the following: (a) the procedures and calculations used to determine
21 and impose any portion of the sentence; (b) the term of imprisonment
22 imposed by the Court; (c) the fine imposed by the Court, provided it
23 is within the statutory maximum; (d) the term of probation or

24 supervised release imposed by the Court, provided it is within the
25 statutory maximum; and (f) any of the following conditions of

26 probation or supervised release imposed by the Court; the conditions
27 set forth in General Orders 318, 01-05, and/or 05-02 of this Court;
28 the drug testing conditions mandated by 18 U.S.C, §§ 3563(a)(5) and

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3583(d); and the alcohol and drug use conditions authorized by 18
U.S.C. § 3563(b)(7)]

23. The USAO agrees that, provided (a) all portions of the
sentence are at or above the statutory minimum and at or below the
statutory maximum specified above and (b) the Court imposes a term of
imprisonment of not less than the applicable Guidelines range
corresponding to an overall offense level of 21, the USAO will give
up its right to appeal any portion of the sentence.

RESULT OF WITHDRAWAL OF GUILTY PLEA

 

24. Defendant agrees that if, after entering guilty pleas
pursuant to this agreement, defendant seeks to withdraw and succeeds
in withdrawing defendant's guilty pleas on any basis other than a
claim and finding that entry into this plea agreement was
involuntary, then (a) the USAO will be relieved of all of its
obligations under this agreement; (b) in any investigation, criminal
prosecution, or civil, administrative, or regulatory action,
defendant agrees that any Plea Information and any evidence derived
from any Plea lnformation shall be admissible against defendant, and
defendant will not assert, and hereby waives and gives up, any claim
under the United States Constitution, any statute, or any federal
rule, that any Plea lnformation or any evidence derived from any Plea
Information should be suppressed or is inadmissible.

RESULT OF VACATUR, REVERSAL OR SET-ASIDE

 

25. Defendant agrees that if any count of conviction is
vacated, reversed, or set aside, the USAO may: (a) ask the Court to
resentence defendant on any remaining count of conviction, with both
the USAO and defendant being released from any stipulations regarding
sentencing contained in this agreement, (b) ask the Court to void the

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entire plea agreement and vacate defendant's guilty pleas on any
remaining counts of conviction, with both the USAO and defendant
being released from all their obligations under this agreement, or
(c) leave defendant's remaining convictions, sentence, and plea
agreement intact. Defendant agrees that the choice among these three
options rests in the exclusive discretion of the USAO.

EFFECTIVE DATE OF AGREEMENT

 

26. This agreement is effective upon signature and execution of
all required certifications by defendant, defendant's counsel, and an
Assistant United States Attorney.

BREACH OF AGREEMENT

 

27. Defendant agrees that if defendant, at any time after the
signature of this agreement and execution of all required
certifications by defendant, defendant's counsel, and an Assistant
United States Attorney, knowingly violates or fails to perform any of
defendant's obligations under this agreement (“a breach”), the USAO
may declare this agreement breached. All of defendant's obligations
are material, a single breach of this agreement is sufficient for the
USAO to declare a breach, and defendant shall not be deemed to have
cured a breach without the express agreement of the USAO in writing.
If the USAO declares this agreement breached, and the Court finds
such a breach to have occurred, then:

a. If defendant has previously entered guilty pleas
pursuant to this agreement, defendant will not be able to withdraw
the guilty pleas,

b. The USAO will be free to criminally prosecute
defendant for false statement, obstruction of justice, and perjury
based on any knowingly false or misleading statement by defendant.

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1 c. Defendant agrees that: (i) any statements made by

2 defendant, under oath, at the guilty plea hearing (if such a hearing
3 occurred prior to the breach); (ii) the agreed to factual basis

4 statement in this agreement; and (iii) any evidence derived from such
5 statements, shall be admissible against defendant in any such action
6 against defendant, and defendant waives and gives up any claim under
7 the United States Constitution, any statute, Rule 410 of the Federal
8 Rules of Evidence, Rule ll(f) of the Federal Rules of Criminal

9 Procedure, or any other federal rule, that the statements or any
10 evidence derived from the statements should be suppressed or are

ll inadmissible.

12 COURT AND PROBATION OFFICE NOT PARTIES

 

13 28. Defendant understands that the Court and the United States
14 Probation Office are not parties to this agreement and need not

15 accept any of the USAO’s sentencing recommendations or the parties’
16 agreements to facts or sentencing factors.

17 29. Defendant understands that both defendant and the USAO are
18 free to: (a) supplement the facts by supplying relevant information
19 to the United States Probation Office and the Court, (b) correct any
20 and all factual misstatements relating to the Court’s Sentencing

21 Guidelines calculations and determination of sentence; and (c) argue
22 on appeal and collateral review that the Court’s Sentencing

23 Guidelines calculations and the sentence it chooses to impose are not
24 error, although each party agrees to maintain its view that the

25 calculations in paragraph 17 are consistent with the facts of this
26 case. While this paragraph permits both the USAO and defendant to
27 submit full and complete factual information to the United States

28 Probation Office and the Court, even if that factual information may

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be viewed as inconsistent with the facts agreed to in this agreement,
this paragraph does not affect defendant's and the USAO’s obligations
not to contest the facts agreed to in this agreement,

30. Defendant understands that.even if the Court ignores any
sentencing recommendation, finds facts or reaches conclusions
different from those agreed to, and/or imposes any sentence up to the
maximum established by statute, defendant cannot, for that reason,
withdraw defendant's guilty pleas, and defendant will remain bound to
fulfill all defendant's obligations under this agreement. Defendant
understands that no one -- not the prosecutor, defendant's attorney,
or the Court -- can make a binding prediction or promise regarding
the sentence defendant will receive, except that it will be within
the statutory maximum.

NO ADDITIONAL AGREEMENTS

 

31. Defendant understands that, except as set forth herein,
there are no promises, understandings, or agreements between the USAO
and defendant or defendant's attorney, and that no additional
promise, understanding, or agreement may be entered into unless in a
writing signed by all parties or on the record in court.

PLEA AGREEMENT PART OF THE GUILTY PLEA HEARING

 

32. The parties agree that this agreement will be considered

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part of the record of defendant's guilty plea hearing as if the
entire agreement had been read into the record of the proceeding.
AGREED AND ACCEPTED
UNITED STATES ATTORNEY’S OFFICE
FOR THE CENTRAL DISTRICT OF
CALIFORNIA

SANDRA R. BROWN
Acting United States Attorney

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Assistan United States Attorney

 

 

 

 

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SUSANNA RoDRIGUEZ / § Date
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BRIAN A. NEWMAN Dat;e' '
Attorney for Defendant SUSANNA
RODRIGUEZ

CERTIFICATION OF DEFENDANT

 

1 have read this agreement in its entirety. 1 have had enough
time to review and consider this agreement, and 1 have carefully and
thoroughly discussed every part of it with my attorney. 1 understand
the terms of this agreement, and l voluntarily agree to those terms.
1 have discussed the evidence with my attorney, and my attorney has
advised me of my rights, of possible pretrial motions that might be
filed, of possible defenses that might be asserted either prior to or
at trial, of the sentencing factors set forth in 18 U.S.C. § 3553(a),
of relevant Sentencing Guidelines provisions, and of the consequences
of entering into this agreement, No promises, inducements, or
representations of any kind have been made to me other than those

contained in this agreement, No one has threatened or forced me in

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any way to enter into this agreement. 1 am satisfied with the
representation of my attorney in this matter, and 1 am pleading
guilty because 1 am guilty of the charges and wish to take advantage

of the promises set forth in this agreement, and not for any other

 

 

reason.
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SUSANNA RODRIGUEZ 67 Date
Defendant

CERTIFICATION OF DEFENDANT’S ATTORNEY

 

1 am Susanna Rodriguez' attorney. 1 have carefully and
thoroughly discussed every part of this agreement with my client.
Further, 1 have fully advised my client of her rights, of possible
pretrial motions that might be filed, of possible defenses that might
be asserted either prior to or at trial, of the sentencing factors
set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines
provisions, and of the consequences of entering into this agreement.
To my knowledge: no promises, inducements, or representations of any
kind have been made to my client other than those contained in this
agreement; no one has threatened or forced my client in any way to
enter into this agreement; my client’s decision to enter into this
agreement is an informed and voluntary one; and the factual basis set
forth in this agreement is sufficient to support my client’s entry of
guilty pleas pursuant to this agreement.

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BRfAN A. NEwMAN Date '
Attorney for Defendant SUSANNA
RODRIGUEZ

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